                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-01213-NYW

TEJAS COUSIK,
TARIN ALLEN,
JAKE DOUGLAS,
ALEJO GONZALEZ,
JEREMY HEDLUND,
ROBERT HELMICK,
PHILLIP LOPEZ,
TYSON MCCORMICK,
MARK RONSENTHAL,
BRIANNE SANCHEZ,
EMMA SMEDBERG,
JAMES WILLIAMS,
MARIAH WOOD, and
ABIGAIL ZINMAN,

       Plaintiffs,

v.

CITY AND COUNTY OF DENVER, COLORADO,
PATRICK PHELAN,
CITY OF AURORA, COLORADO, and
AUSTIN RUNYON,

       Defendants.


                                ENTRY OF APPEARANCE


To the clerk of court and all parties of record:

       I hereby certify that I am a member in good standing of the bar of this court, and I

appear in this case as counsel for: Tejas Cousik. Tarin Allen, Jake Douglas, Alejo

Gonzalez, Jeremy Hedlund, Robert Helmick, Phillip Lopez, Tyson McCormick, Mark Rosenthal,

Brianne Sanchez, Emma Smedberg, James Williams, Mariah Wood, and Abigail Zinman.




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      DATED: 5/27/2022

                                               /s/ Makeba Rutahindurwa,
                                               Name of Attorney
                                               Loevy & Loevy,
                                               Firm Name
                                               311 N. Aberdeen St., 3rd Floor,
                                               Office Address
                                               Chicago, IL 60607,
                                               City, State, ZIP Code
                                               (312) 243-5900,
                                               Telephone Number
                                               Makeba@loevy.com.
                                               Primary CM/ECF E-mail Address




                             CERTIFICATE OF SERVICE

I hereby certify that on this 27th day of May, 2022 I served via CM/ECF the forgoing
Entry of Appearance on all counsel of record:




                                           /s/ Makeba Rutahindurwa




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